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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7    CHASOM BROWN, et al.,                               Case No. 20-cv-03664-LHK (SVK)
                                   8                   Plaintiffs,
                                                                                            ORDER ON DISCOVERY DISPUTE
                                   9            v.                                          FILED AS ADMINISTRATIVE
                                                                                            MOTION
                                  10    GOOGLE LLC,
                                                                                            Re: Dkt. No. 383
                                  11                   Defendant.

                                  12          This Court is in receipt of Plaintiffs’ administrative motion regarding setting a schedule for
Northern District of California
 United States District Court




                                  13   resolution of disputed 30(b)6 deposition topics and dates. Dkt. 383, 384. The motion, like its
                                  14   predecessor filed by Defendant at Dkt. 352, is a fight over the size of the table at which the Parties
                                  15   will meet and confer to resolve a substantive dispute, and as such is not a proper use of judicial
                                  16   resources. Counsel on both sides in this matter can and must do better. Each side must promptly
                                  17   engage following a request to meet and confer. If the matter is unresolved, the Parties are to
                                  18   promptly prepare a joint statement in accordance with this Court’s standing order.
                                  19      In the Court’s own interest of efficiency, it will deem the motion a joint discovery submission
                                  20   and ORDERS as follows:
                                  21      •   No later than Saturday, January 15, 2022, Google shall serve formal objections and
                                  22          responses to Plaintiffs’ three Rule 30(b)6 notices and identify designees for each topic not
                                  23          in dispute;
                                  24      •   No later than Monday, January 17, 2022, Martin Luther King Day, the Parties will
                                  25          meet and confer on Google’s objections and identify the areas that remain in dispute;
                                  26      •   No later than January 18, 2002, at noon, Plaintiffs will provide Google with their portion
                                  27          of a joint statement;
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                                   1      •   No later than January 18, 2022, at 6 p.m., Google will provide Plaintiffs with its portion

                                   2          of the joint statement;

                                   3      •   The Parties’ meet and confer efforts are to continue concurrently with the exchange of

                                   4          positions.

                                   5      •   No later than January 19, 2022, the Parties are to file a joint statement addressing any

                                   6          remaining issues.

                                   7      The foregoing schedule may be adjusted pursuant to mutual agreement of the Parties.

                                   8          SO ORDERED.

                                   9   Dated: January 13, 2022

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                                                                                                   SUSAN VAN KEULEN
                                  12                                                               United States Magistrate Judge
Northern District of California
 United States District Court




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